Case 2:03-cr-20364-SH|\/| Document 140 Filed 05/17/05 Page 1 of 2 Page|D 174

IN THE UNITED sTATEs DISTRICT coURT new
FoR TH:E wESTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsIoN 95;1;;;1‘;' g',r ppg §§ 146

 

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U'NITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03~20364-Ma

VS.

TIWANN DEWAYNE JEFFERSON ,

~__/-__,-_,.~.J-_/\_/~_/\_/~_,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on April Zl, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning June 6, 2005 at 9:30 a.m., with a
report date of Tuesday, May 3l, 2005 at 2:00 p.m.

The period from April Zl, 2005 through June l7, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and Blél(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

IT IS SO ORDERED this l?J¢\

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FRC:P on __J______d

day of May, 2005.

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SAMUEL H. MAYS, JR.

U`NITED STATES DISTRICT JUDGE
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UNITS,ED`TATES ISTRIC COURT - WEERN DISITRCT oF TENNESSEE

   

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This notice confirms a copy of the document docketed as number 140 in
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Honorable Samuel Mays
US DISTRICT COURT

